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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN

 UNITED STATES SECURITIES
 AND EXCHANGE COMMISSION,
                                                 Case No.
             Plaintiff,                          2:14-cv-13902-MOB-MKM

 v.                                              Hon. Marianne O. Battani

 The Estate of VINCENT JAMES SAVIANO
 and PALMETTO INVESTMENTS, LLC,

             Defendants.
                                             /

    MOTION FOR ORDER APPROVING RECEIVER’S COMBINED (1)
  NINTH AND FINAL STATUS REPORT AND FINAL ACCOUNTING FOR
    PALMETTO INVESTMENTS, LLC, (2) FINAL FEE APPLICATION,
      (3) REQUEST FOR AUTHORIZATION TO DESTROY BOOKS
           AND RECORDS AND ABANDON ANY REMAINING
          COMPUTER EQUIPMENT AND FURNITURE, AND (5)
           REQUEST TO BE DISCHARGED FROM HIS DUTIES


       Earle I. Erman, Receiver of Palmetto Investments, LLC, states for his

 Motion for Order Approving Receiver’s Combined (1) Ninth and Final Status

 Report and Final Accounting for Palmetto Investments, LLC, (2) Final Fee

 Application, (3) Request for Authorization to Destroy Books and Records and

 Abandon any Remaining Computer Equipment and Furniture, and (5) Request to

 be Discharged from his Duties as follows:

       1.    On October 9, 2014, the United States Securities and Exchange

 Commission (the “SEC”) commenced a lawsuit in this Court against the Estate of
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 Vincent James Saviano (the “Saviano Estate”) and Palmetto Investments, LLC

 (“Palmetto”). In its Complaint, the SEC alleges that Mr. Saviano acting through

 Palmetto, engineered and executed a scheme to defraud investors in violation of

 the Securities Act of 1933, the Securities Exchange Act of 1934, the Investment

 Advisers Act of 1940, and various regulations promulgated under that legislation.

       2.     On October 9, 2014, this Court entered its Order for Temporary

 Restraining Order, Other Emergency Relief, Appointment of Receiver, and Setting

 Preliminary Injunction Hearing [Docket No. 7] (the “Receivership Order”), which

 appointed a Receiver to take exclusive possession of the assets of Palmetto, and

 granted to the Receiver the powers, authorities, rights and privileges described

 within the order necessary to marshal and preserve the same.

       3.     On November 5, 2014, this Court entered its Order [Docket No. 15]

 appointing Earle I. Erman of the law firm Erman, Teicher, Zucker & Freedman,

 P.C. as Receiver for Palmetto pursuant to the terms and conditions of the

 Receivership Order.

       4.     Among other things, the Receivership Order requires the Receiver to

 file Quarterly Status Reports, and at the close of the receivership, to file a final fee

 application, and file a final accounting.

       5.     On September 25, 2017, the SEC filed its Motion for Entry of Final

 Judgments by Consent [Docket No. 98], which requested entry of Final Judgments


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 as to Defendants, the Estate of Vincent James Saviano and Palmetto Investments,

 LLC.

        6.    The Receiver has now filed his Combined (1) Ninth and Final Status

 Report and Final Accounting for Palmetto Investments, LLC, (2) Final Fee

 Application, (3) Request for Authorization to Destroy Books and Records, and (4)

 Request to be Discharged from his Duties (the “Final Report and Fee Application”)

 [Docket No. 99], which is intended to comply with the directives of the

 Receivership Order.


              Receiver’s Final Status Report and Final Accounting

        7.    Prior to filing the Final Report and Fee Application, the Receiver filed

 eight Interim Quarterly Reports and Accountings for Palmetto Investments, LLC

 (the “Interim Reports”) [Docket No.’s 30, 58, 67, 72, 77, 83, 88, and 93].

        8.    The Final Report and Fee Application and the Interim Reports all

 provide the Court with the following information:

              a.    A Summary of the Operations of the Receiver.

               b.     The Amount of Cash on Hand, the Amount and Nature of
        Accrued Administrative Expenses, and the Amount of Unencumbered Funds
        in the Estate.

              c.     A Schedule of the Receiver’s Receipts and Disbursements.

              d.    A Description of all Known Receivership Property.



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             e.    A Description of Liquidated and Unliquidated Claims Held by
       the Receivership Entity.

           f.      A List of all Known Creditors with their Addresses and the
       Amounts of their Claims.

              g.    The Status of Creditor Claims Proceedings.

            h.     The Receiver’s Recommendations for a Continuation or
       Discontinuation of the Receivership.

       9.     As set forth in the Final Report and Fee Application, the Receiver is

 satisfied that all of the assets of the Receivership Estate and viable third party

 claims have been identified and liquidated, and the proceeds have been disbursed

 pursuant to various orders of this Court.

       10.    A total of $1,084,000.00 has been distributed to investors of Palmetto

 having allowed general unsecured claims, representing a 24.53% distribution. A

 total of $253,900.00 in fees has been awarded and distributed to the Receiver thus

 far, not including the amounts requested in the Final Report and Fee Application

 for the time period September 16, 2016 through the present. A schedule of the

 Receiver’s receipts and disbursements reflecting these distributions is attached to

 the Final Report and Fee Application.

       11.    Because all of the assets of the Receivership Estate have been

 administered and their proceeds have been distributed, and the Receiver has

 otherwise completed all of his duties under the Receivership Order, the Receiver

 requests that this Court approve the Final Report and Fee Application as the final
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 accounting required by the Receivership Order and that he be discharged from his

 duties.

                            Final Fee Application of Receiver

         12.   Attorneys from the Receiver’s firm, Erman, Teicher, Zucker &

 Freedman, P.C., have assisted the Receiver in administering the Palmetto

 Receivership Estate. During the course of this Receivership, the Receiver has filed

 seven interim fee applications pursuant to which fees totaling $253,900.00 for the

 time period through September 16, 2016 have been approved. Total fees incurred

 in this matter, inclusive of the fees requested in the Final Report and Fee

 Application for the time period September 16, 2016 through September 26, 2017

 are $276,300.00.

         13.   Paragraph VI(N)(6) of the Receivership Order provides that the

 Receiver’s interim fee applications may be subject to a holdback in the amount of

 20%, with the total amount of holdbacks to be paid out at the discretion of the

 Court as part of the final fee application. However, the Court approved each of the

 interim fee applications in full and did not order hold back of any of the requested

 fees.

         14.   As set forth in the Final Report and Fee Application, the services

 performed by the Receiver greatly enhanced the value of the Receivership Estate.

 As a result of the Receiver’s efforts, the Receivership Estate has recovered a total


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 of $1,370,334.97 and has disbursed a total of $1,084,000.00 to investors of

 Palmetto having allowed general unsecured claims.           A large portion of the

 recovered funds resulted from the Receiver’s investigation, pursuit, and settlement

 of claims against third parties.

       15.    All of the work done by the Receiver in this matter was necessary for

 the proper administration of this case and the benefit of the Receivership Estate

 and its creditors.

       16.    Attached to the Final Report and Fee Application is the Receiver’s

 Billing Ledger which sets forth the total compensation requested, the total hours

 billed, and the activities billed by each person who billed time during the period

 September 16, 2016 through September 26, 2017. Billing ledgers relating to the

 fees requested in the interim fee applications are attached to those applications.

       17.    The Receiver requests that the Court approve the Final Report and Fee

 Application as the final fee application required by the Receivership Order.

                       Destruction of Books and Records and
                 Abandonment of Remaining Equipment and Furniture

       18.    The Receiver is in possession of certain books and records of

 Palmetto and has also accumulated his own files and records relating to Palmetto

 and the Receivership Estate.

       19.    Since the Receiver has discharged all of his duties under the

 Receivership Order and there are no other receivership assets to administer, there
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 should not be a need to keep the books and records of Palmetto for an extended

 period of time.

           20.   The Receiver requests that this Court authorize destruction of all of

 the books and records of Palmetto in the possession of the Receiver, as well as

 authorization to destroy his own files and records relating to Palmetto and/or the

 Receivership Estate at such time as the Receiver deems appropriate. The Receiver

 anticipates that destruction of files and records relating to Palmetto and/or the

 Receivership Estate will take place six months from the termination of the

 Receivership.

           21.   In addition, the Receiver is in possession of certain of Mr. Saviano’s

 computer equipment and furniture which was utilized in Palmetto’s trading

 operations. In accordance with Paragraph VI (I)(3) of the Receivership Order, the

 Receiver seeks authority to abandon or dispose of this equipment and furniture in

 the ordinary course at the conclusion of his activities.

           22.   The SEC has reviewed this Motion and the Final Report and Fee

 Application and concurred in the relief requested on March 20, 2017.

           WHEREFORE, the Receiver requests that this Court grant the following

 relief:

           a.    Approve and allow the Receiver’s Final Report and Accounting;

       b.     Approve and allow payment of the total fees of the Receiver through
 termination of the Receivership in the amount of $276,300.00.
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        c.   Find that all of the Receiver’s acts, actions and transactions including
 the acts and actions of his representatives, attorneys, employees and agents, as
 Receiver for the receivership period be ratified, confirmed and approved as being
 correct and proper and in the best interests of the Receivership Estate and its
 creditors;

       d.     Release the Receiver, his representatives, attorneys, employees,
 agents, and the Receivership Estate from all liability or obligation for any and all
 claims, demands or causes of action that may have directly or indirectly arisen
 from the Receivership Estate prior to, during or after the receivership period if not
 brought to the attention of this Court by the time of hearing on this Motion;

       e.     Authorize the termination of the receivership;

       f.     Discharge the Receiver, his representatives, attorneys, employees and
 agents of and from any and all further duties, liabilities, responsibilities and
 obligations under the Receivership Order, providing, however, that nothing in the
 Order shall be construed to limit, modify or terminate the provisions of the
 Receivership Order, which shall survive the termination of this Receivership;

       g.    Authorize the Receiver to abandon or destroy all books and records of
 the Receivership Estate under his control or instruct the Receiver as to whom they
 should be delivered;

       h.    Authorize the Receiver to abandon or otherwise dispose of any of the
 remaining equipment and furniture of the Receivership Estate;

       i.    Grant such other and further relief as may be required under the
 circumstances.
                                    Respectfully submitted,

                                        By: /s/ Earle I. Erman
                                        Earle I. Erman (P24296)
                                        Receiver
                                        400 Galleria Officentre, Suite 444
                                        Southfield, MI 48034
                                        Tel: (248) 827-4100
                                        Fax: (248) 827-4106
 DATED: September 28, 2017              eerman@ermanteicher.com
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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN

 UNITED STATES SECURITIES
 AND EXCHANGE COMMISSION,
                                                Case No.
             Plaintiff,                         2:14-cv-13902-MOB-MKM

 v.                                             Hon. Marianne O. Battani

 The Estate of VINCENT JAMES SAVIANO
 and PALMETTO INVESTMENTS, LLC,

             Defendants.
                                          /

      BRIEF IN SUPPORT OF MOTION FOR ORDER APPROVING
   RECEIVER’S COMBINED (1) NINTH AND FINAL STATUS REPORT
  AND FINAL ACCOUNTING FOR PALMETTO INVESTMENTS, LLC, (2)
  FINAL FEE APPLICATION, (3) REQUEST FOR AUTHORIZATION TO
  DESTROY BOOKS AND RECORDS AND ABANDON ANY REMAINING
         COMPUTER EQUIPMENT AND FURNITURE, AND (5)
         REQUEST TO BE DISCHARGED FROM HIS DUTIES
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                                    ISSUES



  1. DOES THE COURT HAVE THE AUTHORITY TO APPROVE THE
  RECEIVER’S NINTH AND FINAL STATUS REPORT AND ACCOUNTING,
  APPROVE THE RECEIVER’S FINAL FEE APPLICATION, AUTHORIZE THE
  DESTRUCTION OF BOOKS AND RECORDS AND ABANDONMENT OF
  FURNITURE AND EQUIPEMENT, DISCHARGE THE RECEIVER, AND
  GRANT OTHER RELIEF?

  MOVANT STATES THAT THE ANSWER IS “YES”.




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                               RELEVANT AUTHORITIES



  SEC v. Elliott, 953 F.2d 1560, 1577 (11th Cir. 1992) . . . . . . . . . . .        2

  Federal Savings and Loan Insurance Corporation v. PSL Realty Co.,
  630 F.2d 515, 521 (7th Cir. 1980) . . . . . . . . . . . . . . . . . . . . . . . . 2




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                                    ARGUMENT

         The Receiver filed his Motion for Order Approving Receiver’s Combined (1)

  Ninth and Final Status Report and Final Accounting for Palmetto Investments,

  LLC, (2) Final Fee Application, (3) Request for Authorization to Destroy Books

  and Records and Abandon any Remaining Computer Equipment and Furniture,

  and (5) Request to be Discharged from his Duties (the “Motion”) concurrently

  with the filing of this Brief.

         Paragraph VI(N)(8) of the Receivership Order provides that “[a]t the close

  of the Receivership, the Receiver shall submit a Final Accounting…as well as the

  Receiver’s final application for compensation and expense reimbursement.”

         As set forth in the Motion and in the Final Report and Fee Application the

  Receiver is satisfied that all of the assets of the Receivership Estate and viable

  third party claims have been identified and liquidated. A total of $1,084,000.00

  has been distributed to investors of Palmetto having allowed general unsecured

  claims, representing a 24.53% distribution. A total of $253,900.00 in fees has been

  awarded and distributed to the Receiver thus far, not including the amounts

  requested in the Final Report and Fee Application for the time period September

  16, 2016 through the present.
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        At this time, the purpose of the receivership has been satisfied.          The

  Receiver has completed and discharged all of his duties under the Receivership

  Order and there are no other receivership assets to administer.

        The Receiver is an officer of this Court and acts under the supervision of this

  Court. See SEC v. Elliott, 953 F.2d 1560, 1577 (11th Cir. 1992). All of the duties,

  responsibilities and obligations of the Receiver have been performed and the

  grounds for the Receivership no longer exist. (See Federal Savings and Loan

  Insurance Corporation v. PSL Realty Co., 630 F.2d 515, 521 (7th Cir. 1980).

  “When the receiver in obedience to a court order has so disposed of the property in

  receivership, his liability and responsibility as receiver to that property ceases.

  Since the property is no longer in custodia legis, the receivership is terminated.”

  Id. at 521.) As such, the Receivership should be terminated and the Receiver

  should be discharged and relieved of all of his duties, responsibilities and

  obligations under the Receivership Order.          Incident to termination of the

  Receivership, it is appropriate for the Court to accept the Receiver’s Ninth and

  Final Status Report and Accounting at this time.

        The Receivership Order also provides at paragraph VI(N)(6):

        Quarterly Fee Applications may be subject to a holdback in the
        amount of 20% of the amount of fees and expenses for each
        application filed with the Court. The total amounts held back during
        the course of the receivership will be paid out at the discretion of the
        Court as part of the final fee application submitted at the close of the
        receivership.
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  As set forth in the Motion and the Final Report and Fee Application, the services

  performed by the Receiver greatly enhanced the value of the Receivership Estate.

  As a result of the Receiver’s efforts, the Receivership Estate has recovered a total

  of $1,370,334.97 and has disbursed a total of $1,084,000.00 to investors of

  Palmetto having allowed general unsecured claims.         A large portion of the

  recovered funds resulted from the Receiver’s investigation, pursuit, and settlement

  of claims against third parties.

        Furthermore, as part of the administration of the Receivership Estate, the

  Receiver has been in possession of the books and records of Palmetto, and has also

  accumulated his own files and records relating to Palmetto and the Receivership

  Estate. Since the Receiver has discharged all of his duties under the Receivership

  Order and there are no other receivership assets to administer, the Receiver has no

  need for such books, records and files and should have authority to destroy them.

        Finally, the Receiver is in possession of certain of Mr. Saviano’s computer

  equipment and furniture which was utilized in Palmetto’s trading operations. The

  Receiver seeks authority to dispose of this equipment and furniture in the ordinary

  course at the conclusion of his activities or otherwise abandon the same as

  worthless.

        Based upon the foregoing, the Receiver’s Ninth and Final Report and Final

  Accounting should be approved, final fees should be awarded as requested, the
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  Receivership should be terminated and the Receiver should be discharged and

  relieved of all of his duties, responsibilities and obligations under the Receivership

  Order, and the Receiver should be authorized to destroy the Palmetto’s books and

  records that are in his possession and abandon any remaining computer equipment

  and furniture.

                                         Respectfully submitted,

                                         By: /s/ Earle I. Erman
                                         Earle I. Erman (P24296)
                                         Receiver
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                                         Southfield, MI 48034
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                                         Fax: (248) 827-4106
  DATED: September 28, 2017              eerman@ermanteicher.com




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                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF MICHIGAN


  UNITED STATES SECURITIES
  AND EXCHANGE COMMISSION,

              Plaintiff,                     No. 2:14-cv-13902-MOB-MKM

  v.                                         Hon. Marianne O. Battani

  The Estate of VINCENT JAMES SAVIANO
  and PALMETTO INVESTMENTS, LLC,

              Defendants.

                                             /


                            CERTIFICATE OF SERVICE

        The undersigned certifies that on September 28, 2017, the Motion for Order

  Approving Receiver’s Combined (1) Ninth and Final Status Report and Final

  Accounting for Palmetto Investments, LLC, (2) Final Fee Application, (3) Request

  for Authorization to Destroy Books and Records and Abandon Any Remaining

  Computer Equipment and Furniture, and (5) Request to be Discharged from his

  Duties, Brief in Support of Motion and Certificate of Service were electronically

  filed with the Clerk of the Court for the United States District Court, Eastern

  District of Michigan, Southern Division using the CM/ECF System, which will
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  send notification of such filing to all attorneys and parties of record registered

  electronically.

                                Respectfully submitted,

                                 By:   /s/ Earle I. Erman
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                                       Receiver
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  DATED:      September 28, 2017       eerman@ermanteicher.com




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